                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        Case No. 5:11-CV-00353-H

                                                          )
MUHAMMED BAZZI,                                           )
Plaintiff(s),                                             )
                                                          )
vs                                                        )
                                                          )
PA NDERRY M'BAI, FREEDOM NEWSPAPER, INC., and JOHN DOE,
                                                          )
Defendant(s).                                             )

  DISCLOSURE OF CORPORATE AFFILIATIONS AND OTHER ENTITIES WITH A
              DIRECT FINANCIAL INTEREST IN LITIGATION

Pursuant to Fed.R.Civ.P. 7.1 and Local Civil Rule 7.3, or Fed.R.Crim.P. 12.4 and Local Criminal
Rule 12.3,

Freedom Newspaper, Inc.
_______________________        Defendant
                        who is ______________________,
(name of party)                 (plaintiff/defendant/other:_______________)

makes the following disclosure:

1. Is party a publicly held corporation or other publicly held entity?

         YES                                    NO

2. Does party have any parent corporations?

         YES                                    NO


If yes, identify all parent corporation, including grandparent and great-grandparent corporations:


3. Is 10% or more of the stock of a party owned by a publicly held corporation or other
publicly held entity?

         YES                                    NO



If yes, identify all such owners:




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4. Is there any other publicly held corporation or other publicly held entity that has a direct
financial interest in the outcome of the litigation (Local Civil Rule 7.3 or Local Criminal Rule 12.3)?

        YES                             NO

If yes, identify entity and nature of interest:


5. Is party a trade association?

        YES                             NO

If yes, identify all members of the association, their parent corporations, and any publicly held
companies that own 10% or more of a member’s stock:


6. If case arises out of a bankruptcy proceeding, identify any trustee and the members of any
creditors’s committee:



                                                             /s/ Sean M. Braswell
                                                  Signature: _____________________________

                                                  Date:   September 29, 2011
                                                          _____________________________


                                                                                   Finalize Form    Reset Form




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